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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA |

United States of America,
CR 04-968-1-PHX-SMM

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Plaintiff,
FINDINGS AND RECOMMENDATION
Vv. OF THE MAGISTRATE JUDGE
UPON A PLEA OF GUILTY
Gregory K. Priore, AND ORDER
Defendant.

 

TO THE HONORABLE Stephen M. McNamee, CHIEF UNITED STATES DISTRICT
JUDGE.

Upon Defendant's request to enter a plea of guilty pursuant to Rule 11 of the
Federal Rules of Criminal Procedure, this matter came on for hearing before U.S.
Magistrate Judge David K. Duncan on July 12, 2005 with the written consents of the
defendant, counsel for the defendant, and counsel for the United States of America.

The hearing on defendant's plea of guilty was in full compliance with Rule 11,
Federal Rules of Criminal Procedure, before the Magistrate Judge in open court and on
the record. eS

In consideration of that hearing and the statements made by the defendant under
oath on the record and in the presence of counsel, and the remarks of the Assistant
United States Attorney and of counsel for defendant,

| FIND as follows:

(1) that defendant understands the nature of the charge against him to which the

plea is. offered;
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(2) that defendant understands his right fo trial by jury, to persist in his plea of not
guilty, to the assistance of counsel at trial, to confront and cross-examine adverse
witnesses, and his right against compelied self-incrimination;

(3) that defendant understands what the maximum possible sentence is, including
the effect of the supervised release term, and defendant understands that the sentencing
guidelines are advisory, not mandatory, and that the Court may sentence outside those
guidelines; |

(4) that the plea of guilty by the defendant has been knowingly and voluntarily
made and is not the result of force or threats or of promises apart from the plea
agreement between the parties;

(5) that defendant is competent to plead guilty;

(6) that the defendant understands that his answers may later be used against
him in a prosecution for perjury or false statement; | |

(7) that defendant understands that by pleading guilty he waives the right to a jury
trial: | |

(8) that defendant understands the terms of any plea agreement provision waiving
the right to appeal or to collaterally attack the sentence;

(9) that there is a factual basis for the defendant's plea; and further,

| RECOMMEND that the Court accept the defendant's plea of guilty.

IT IS ORDERED that any objection to the guilty plea proceedings and any request —

for supplementation of those proceedings be made by the parties in writing and shall be
specific as to the objection or request made. All objections or requests for
supplementation shail be filed within ten (10) days of the date of service of a copy of

these findings unless.extended by an Order of the assigned district judge.
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iT IS FURTHER ORDERED that any letters, documents, ete. that the defendant
wants the Court to consider before sentencing must be filed with the district court seven
(7) calendar days before the sentencing or the letters, documents, etc. may be deemed
untimely. |

DATED this 12th day of July, 2005.

 

DAVID K. DUNCAN
United States Magistrate Judge

 
